Case 3:10-cv-01138-PGS-LHG Document 87 Filed 04/11/12 Page 1 of 3 PageID: 3046




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 Attorneys for Defendant/Cross-Claim Plaintiff

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 SAM HARGROVE, ANDRE HALL, and
 MARCO EUSEBIO, individually and on behalf       Civil Action No. 10-01138-PGS-LHG
 of all others similarly situated,

                      Plaintiffs,

 vs.
                                                     (HONORABLE PETER G.
 SLEEPY’S, LLC,                                           SHERIDAN)

                      Defendant.                         FILED VIA ECF

 SLEEPY’S, LLC,

                      Cross-Claim Plaintiff,

 vs.
                                                 Application Date: April 19, 2012 at
 I STEALTH, LLC, EUSEBIO’S TRUCKING                          10:00 a.m.
 CORP., and CURVA TRUCKING, LLC,

                      Cross-Claim Defendants.


  NOTICE OF DEFENDANT/CROSS-CLAIM PLAINTIFF SLEEPY’S, LLC’S MOTION
                 FOR APPLICATION FOR BILL OF COSTS
Case 3:10-cv-01138-PGS-LHG Document 87 Filed 04/11/12 Page 2 of 3 PageID: 3047




 TO:    Anthony L. Marchetti, Jr.
        MARCHETTI LAW, P.C.
        900 N. Kings Hwy.
        Suite 306
        Cherry Hill, NJ 08034

        Attorney for Plaintiffs

        PLEASE TAKE NOTICE that on April 19, 2012 at 10:00 a.m., or as soon thereafter as

 counsel may be heard, Defendant/Cross-Claim Plaintiff Sleepy’s, LLC (“Sleepy’s”) will move,

 pursuant to Local Rule 54.1, by the undersigned counsel, at the Clarkson S. Fisher Building &

 U.S. Courthouse, 402 East State Street, Trenton, New Jersey 08608, for an Order taxing the costs

 set forth in Sleepy’s accompanying Bill of Costs.

        PLEASE TAKE FURTHER NOTICE that, in support of Sleepy’s Application,

 Sleepy’s shall rely upon the attached Bill of Costs, the Affidavit of Elizabeth Tempio Clement,

 and supporting documents.

        PLEASE TAKE FURTHER NOTICE that a Proposed Order is attached hereto.



                                                     Respectfully submitted,

                                                     s/ Elizabeth Tempio Clement
                                                     Matthew J. Hank
                                                     Kimberly J. Gost
                                                     Theo E.M. Gould
                                                     Elizabeth Tempio Clement
                                                     LITTLER MENDELSON, P.C.
                                                     THREE PARKWAY
                                                     1601 Cherry Street, Suite 1400
                                                     Philadelphia, PA 19102.1321

                                                     Attorneys for Defendant/Cross-Claim Plaintiff
                                                     Sleepy’s, LLC
 April 11, 2012
Case 3:10-cv-01138-PGS-LHG Document 87 Filed 04/11/12 Page 3 of 3 PageID: 3048




                                 CERTIFICATE OF SERVICE

        I, Elizabeth Tempio Clement, hereby certify that on April 11, 2012, I served true and

 correct copies of Notice of Motion for Application of Bill of Costs, Proposed Order, Bill of

 Costs, and Affidavit of Elizabeth Tempio Clement in Support of Bill of Costs upon the following

 via ECF and first class mail, postage prepaid:

                                     Anthony L. Marchetti, Jr.
                                       Marchetti Law, P.C.
                                       900 N. Kings Hwy.
                                            Suite 306
                                      Cherry Hill, NJ 08034

                                       Attorney for Plaintiffs


                                                   s/ Elizabeth Tempio Clement
 April 11, 2012
